   
 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

xX
EDDY MOMPLAISIR, .
Petitioner,
-against- OPINION & ORDER
MICHAEL CAPRA,
Respondent
---X

 

HONORABLE PAUL A. CROTTY, United States District Judge:

This is a 28 U.S.C. § 2254 petition on remand from the Second Circuit which directs this
Court to consider whether Petitioner Eddy Momplaisir is entitled to an evidentiary hearing on his
ineffective assistance of counsel claim. Momplaisir v. Capra, 718 F. App’x 91, 92-93 (2d Cir.
2018), Petitioner filed his original § 2254 petition with this Court on August 16, 2013, claiming
ineffective assistance of counsel, prosecutorial misconduct, and judicial misconduct relating to his
criminal conviction of first degree rape, first degree criminal sexual act, and first degree sexual
abuse. (Dkt. 1).! This Court adopted Magistrate Judge Ronald L. Ellis’s Report and
Recommendation dismissing all of Petitioner’s claims as either procedurally barred or meritless.
Momplaisir v. Capra, 2016 WL 1070848, at *1 (S.D.N.Y, Mar. 16, 2016). On appeal, the Second
Circuit affirmed in part, vacated in part, and remanded. Momplaisir v. Capra, 718 F. App’x at 93.
Specifically, the Second Circuit held that New York Criminal Procedure Law (“CPL”) §
440.10(2)(c) did not bar Petitioner’s three ineffective assistance of counsel claims because these

claims challenged conduct not apparent from the trial record. Jd. at 92. Considering Petitioner’s

 

1 Unless otherwise noted, citations refer to the civil docket 13-CV-6118 (PAC).
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claims de novo, the Second Circuit dismissed two of Momplaisir’s ineffective assistance of counsel
claims, in which he alleged (1) that his counsel was ineffective for failing to call a rebuttal expert
to challenge the state’s DNA expert, and (2) that his counsel was ineffective for failing to seek the
complainant’s medical records, as meritless, but found his third claim, that his trial counsel failed
to investigate witnesses who would testify about a romantic relationship between him and the
complainant, potentially of merit. It thus remanded Momplaisir’s third claim back to this Court
with instructions to “determine whether petitioner has shouldered his burden to establish his
entitlement to an evidentiary hearing . . . and if so, to hold that hearing.” /d. at 93.

The Court has considered Petitioner’s claim in light of the Second Circuit’s instruction and
finds Petitioner failed to meet his burden. Accordingly, Petitioner’s motion for an evidentiary
hearing is DENIED.

BACKGROUND

In 2007, Petitioner was charged with first degree rape, first degree criminal sexual act, and
first degree sexual abuse in New York State court. (Petition, Dkt. 1). Attrial, the prosecutor’s key
witness was the complainant, VG, who testified that Petitioner raped her at knifepoint in his
apartment in the Midway Hotel after a night of drinking and drug-use. (Trial Transcript (“TT”) at
87, 90-114, 129-30, 164-176, 264.)? VG also testified that she had known the Petitioner since
2003, but never considered him more than a friend. Ud. at 83-89). On cross-examination,
Petitioner’s trial counsel challenged VG’s credibility. He got her to admit that she was a long-
time drug user who often became paranoid when using crack and that she both used crack and
consumed a substantial amount of alcohol on the night of the alleged incident. Ud. at 136-41, 177).

VG also acknowledged that she had sold drugs while receiving public assistance. (/d. at 150-51).

 

2 The record from Petitioner’s criminal trial and subsequent state filings was provided to the Court under seal and
has not been docketed.
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As the prosecution prepared to rest, defense counsel asked the court for a brief delay to
secure the testimony of a key defense witness, Robin Romero, (/d. at 300-03). He said that
Romero, a long-time desk clerk at the Midway Hotel, would testify that VG and Petitioner had a
romantic relationship—testimony which was now essential given VG’s denial of any such
relationship. (Jd.) The trial judge was dubious over the requested delay, but nonetheless permitted
the adjournment. (/d.) That following Monday, Romero testified. 7d. at 404-05, 415-16, 420). In
her testimony, Romero told the jury that she had seen VG and Petitioner together both inside and
outside of the Midway Hotel, and that VG typically visited Petitioner every day he was at his
residence in the hotel. (/d. at 405-08, 416-18). Romero further stated that she had seen Petitioner
and VG hugging four or five times, although she had no memory of having seen them kiss. Ud. at
406-08, 417-19, 422). She also told the jury that she had seen Petitioner kissing and holding hands
with another woman, not VG, on one occasion inside the hotel. (/d. at 419-22).

During summations, the prosecution criticized the defense for calling Romero as its sole
witness, stating, “{i]f the defendant and [the complainant] really were in a romantic relationship,
wouldn’t they have brought you somebody else, a family member perhaps’? A close friend?” Ud.
at 478). Defense counsel, however, invoked Romero’s testimony as further evidence that VG was
a liar, and as proof that her decision to accuse Petitioner of rape was motivated by jealousy over
his relationship with another woman. (/d. at 438-53).

The jury found Petitioner guilty on all counts. (/d. at 522-25). On November 18, 2007, the
trial judge sentenced Petitioner, a second violent felony offender, to concurrent prison terms of
fifteen years for the rape count and criminal sexual act count, and seven years for the sexual abuse
count, (Petition at 1). Petitioner is currently serving that sentence at Sing Sing Correctional

Facility in Ossining, New York. (/d.).
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Petitioner’s State Appeals

Before the Appellate Division, First Department in January, 2009, Petitioner argued that
the jury verdict was against the weight of the evidence, the trial court erred in permitting testimony
of a forensic examiner who had examined the victim soon after the assault, and Petitioner’s
sentence was excessive. (State Court Record (“SR”) at 35, 39, 44). Petitioner also submitted a pro
se brief on the appeal, asserting among other claims that his defense had suffered due to his
incarceration and consequent inability to assist in the investigation of his own case. (SR at 106),
According to Petitioner, he “could have best assisted [his] attorney by being outside of jail and
free to gather information which both [his] attorney and his private investigator found most
difficult to obtain.” (SR at 105-06). Petitioner further noted the challenges posed by his
community, stating, “[t]his is not an attack on the professionalism of the investigator, but rather
their ability to penetrate and obtain information from people inside of a street culture permeated
with drugs and prostitution.” Ud.)

Following his direct appeal, Petitioner filed a CPL § 440.10 motion, arguing that his trial
counsel was ineffective for failing to interview or call any of the six witnesses—-VG’s mother,
VG’s sister, and four of his neighbors--whose contact information he provided to defense counsel
long before trial. (/d.at 152), According to Petitioner, these witnesses would have “satisfied the
prosecutor’s erroncous standard of having to have witnessed the holding of hands, kissing, and
other intimate affections and displays of romantic attachments,” and at least two could have
“testified to the fact that they had witnessed complainant in the bed at the room of the [Petitioner].”
(id.) Petitioner acknowledged that defense counsel had called Romero to establish this fact, but
he argued that defense counsel’s representation was ineffective nonetheless. id.)

On May 22, 2012, the Supreme Court denied Petitioner’s CPL § 440 motion to vacate. (Ud.
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at 208), Of relevance here, the judge rejected Petitioner’s ineffective assistance of counsel claim
as procedurally barred for failure to raise the claim on direct appeal, /d@. at 211). On May 7, 2013,
the Appellate Division issued a certificate denying Petitioner’s motion for leave to appeal because
there were no valid questions of law or fact. (/d. at 243). Petitioner then filed his § 2254 habeas
petition.
DISCUSSION
I. Legal Standard

To establish a claim of ineffective assistance of counsel, a petitioner must show (1) his
counsel’s representation “fell below an objective standard of reasonableness,” Strickland vy,
Washington, 466 U.S. 668, 688 (1984)), and, as a result, (2) he suffered prejudice, meaning that
“but for counsel’s unprofessional errors, the result of the proceeding would have been different.”
Id. at 694. Entitlement to an evidentiary hearing, in turn, requires a showing that a petitioner’s
allegations, taken as true, entitle him to federal habeas relief. See Schriro v. Landrigan, 550 US.
465, 474 (2007), The petitioner’s allegations should be based on specific evidence in the record,
and “[mlJere generalities or hearsay statements will not normally entitle the applicant to a hearing,
since such hearsay would be inadmissible at the hearing itself.” LoCascio v. United States, 395
F.3d 51, 57 (2d Cir, 2005). Still, given the unavailability of discovery at this stage, a petitioner
“may need only to identify available sources of relevant evidence rather than obtain it.” Puglisi v.
United States, 586 F.3d 209, 213-14 (2d Cir, 2009). Here, since the state court never reached the
merits of Petitioner’s claim, the Court reviews the record de nove. Momplaisir, 718 F. App’x at

92.
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Ik. Analysis

Petitioner’s claim must be denied because taking all of his allegations as true, his trial
counsel was not ineffective, and he cannot show prejudice. When assessing a lawyer’s conduct
under Strickland’s first prong, judicial scrutiny should be “highly deferential ... [and]...indulge a
strong presumption that counsel’s conduct falls within the wide range of reasonable professional
assistance.” Jd. at 689. The court adopts “counsel’s perspective at the time of and under the
circumstances of trial,” Murden v. Artuz, 497 F.3d 178, 198 (2d Cir. 2007) (citation omitted), and
assesses the challenged conduct, “look[ing] for legitimate justifications for that conduct, including
justifications transparent on the record and justifications offered by counsel,” Greiner v. Wells,
417 F.3d 305, 320 (2d Cir. 2005). Counsel’s performance is not deficient absent a showing of
“errors so serious that counsel was not functioning as the ‘counsel’ guaranteed the defendant by
the Sixth Amendment.” Strickland, 466 U.S. at 687.

The decision of “whether to call specific witnesses—even ones that might offer
exculpatory evidence—is ordinarily not viewed as a lapse in professional representation,” United
States v. Schmidt, 105 F.3d 82, 90 (2d Cir.), cert. denied, 522 U.S. 846, 118 S.Ct. 130, 139 L.Ed.2d
80 (1997), and Petitioner’s allegations here offer no reason for exception. Petitioner's trial counsel
decided to call Romero, a long-term employee of the Midway Hotel with no criminal record, (see
TT at 408), as the defense’s sole witness. Unlike Petitioner’s four neighbors from the Midway
Hotel, whose relationships with Petitioner would likely subject them to accusations of bias on
cross-examination, see Strickland, 466 U.S. at 689; Whiting v. La Clair, 2012 WL 3930401, at *6
(E.D.N.Y. Sept. 7, 2012), or VG’s sister and mother, whose relationship to VG would have likely
made them hostile witnesses, see Schulz v, Marshall, 528 F. Supp. 2d 77, 93 (E.D.N.Y. 2007),

aff'd sub nom. Schulz v, Marshal, 345 F. App’x 627 (2d Cir, 2009), Romero had no established
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relationship to either Petitioner or VG. Her testimony was objectively neutral and detached, and
it supported the defense’s theory of the case without any concessions. Calling Romero as the sole
defense witness falls comfortably within “the wide range of reasonable professional assistance.”
Strickland, 466 U.S. at 689.

Defense counsel’s conversation with the trial judge at the close of the prosecution’s case,
during which he admits to having only days earlier sent his investigator to the Midway Hotel, does
not rebut a finding of adequate representation. (See TT at 300-03). To the contrary, it demonstrates
that Petitioner’s trial counsel, after hearing the testimony of VG, realized the need for an additional
witness and obtained one. Petitioner can also not argue that his trial counsel’s pre-trial
investigation was inadequate. He himself stated in his supplemental pro se brief on direct appeal
that both his trial counsel and his investigator made efforts to contact witnesses leading up to trial,
thwarted not by their own lack of diligence, but instead by the challenge of obtaining information
from a “street culture permeated with drugs and prostitution.” (SR 105-06). It may be the case of
“snitches get stiches,” but here, these allegations, taken as true, do not establish a deficient
investigation.

Since Petitioner’s defense counsel’s conduct was not deficient, the Court need not reach
Strickland’s second prong and assess whether Petitioner was prejudiced. Palacios v. Burge, 589
F.3d 556, 566 (2d Cir. 2009). Nonetheless, the Court briefly notes that Petitioner’s claim to
prejudice is even weaker than his claim to deficient representation. While the prosecutor criticized
the defense for calling Romero as its sole witness in summation, there is no evidence that
Petitioner’s witnesses, vulnerable to credibility attacks for a host of other reasons, would have
fared any better in the prosecutor’s summation. Furthermore, Romero’s testimony provided ail of

the facts Petitioner alleges his witnesses would have provided, with the exception of testimony
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about having seen VG in Petitioner’s bedroom. Viewing the trial record as a whole, and
considering the strength of the prosecution’s case, this added detail would not have made a
difference?

CONCLUSION

For the above stated reasons, Petitioner’s motion for an evidentiary hearing is DENIED.

Dated: New York, New York SO ORDERED
February _/, 2019

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PAUL A. CROTTY
United States District Judge

 

 

3 The state also argues that Petitioner is procedurally barred from an evidentiary hearing for failing to develop the
record in his CPL § 440,10 motion filed in state court. See 28 U.S.C. § 2254(e\(2); Williams v. Taylor, 529 U.S. 420,
434 (2000), Since the Court finds Petitioner’s failed to meet his burden for an evidentiary hearing regardless, it does

not reach this issue.
